                   Case 24-10070-BLS            Doc 198       Filed 04/03/24        Page 1 of 13




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                              Chapter 11

    TERRAFORM LABS PTE. LTD.,1                                          Case No. 24–10070 (BLS)

               Debtor.                                                  Ref. Docket Nos. 155 – 158

                                      CERTIFICATE OF SERVICE

I, NADIA ALAZRI, hereby certify that:

1. I am employed as a Case Manager by Epiq Corporate Restructuring, LLC, with their
   principal office located at 777 Third Avenue, New York, New York 10017. I am over the
   age of eighteen years and am not a party to the above-captioned action.

2. I caused to be served the:

      a. “Application of Debtor for Authority to Employ and Retain Rahman Ravelli Solicitors
         as Special Foreign Counsel to Terraform Labs Pte. Ltd., Effective as of the Petition
         Date,” dated March 7, 2024 [Docket No. 155, (the “Rahman Retention”),

      b. “Application of Debtor for Authority to Employ and Retain WongPartnership LLP as
         Special Foreign Counsel to Terraform Labs Pte. Ltd., Effective as of the Petition Date,”
         dated March 7, 2024 [Docket No. 156], (the “WongPartnership Retention”),

      c. “Motion of Debtor for Entry of an Order Authorizing Debtor to Employ Professionals
         Used in Ordinary Course of Business,” dated March 7, 2024 [Docket No. 157], (the
         “OCP Motion”), and

      d. “Notice of Agenda of Matters Scheduled for Hearing on March 12, 2024 at 10:00 a.m.
         (ET), Before the Honorable Brendan L. Shannon, at the United States Bankruptcy Court
         for the District of Delaware, 6th Floor, Courtroom 1,” dated March 8, 2024 [Docket No.
         158], (the “Agenda”),

      by causing true and correct copies of the:

             i. Rahman Retention, WongPartnership Retention, and OCP Motion to be delivered via
                electronic mail to those parties listed on the annexed Exhibit A, on March 7, 2024,

             ii. Rahman Retention, WongPartnership Retention, and OCP Motion to be delivered via
                 electronic mail to those CM/ECF parties listed on the annexed Exhibit B, in
                 accordance with Local Rule 5004-4(c)(ii), on March 7, 2024,

1
    The Debtor’s principal office is located at 1 Wallich Street, #37-01, Guoco Tower, Singapore 078881.
              Case 24-10070-BLS         Doc 198     Filed 04/03/24      Page 2 of 13




      iii. Agenda to be enclosed securely in separate postage pre-paid envelopes and delivered
           via overnight mail to those parties listed on the annexed Exhibit C, on March 8, 2024,

      iv. Rahman Retention, WongPartnership Retention, and OCP Motion to be enclosed
          securely in separate postage pre-paid envelopes and delivered via first class mail to
          those parties listed on the annexed Exhibit D, on March 8, 2024,

       v. Agenda to be delivered via electronic mail to those parties listed on the annexed
          Exhibit A, on March 8, 2024, and

      vi. Agenda to be delivered via electronic mail to those CM/ECF parties listed on the
          annexed Exhibit B, in accordance with Local Rule 5004-4(c)(ii), on March 8, 2024.

3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

4. In addition, I hereby certify that the referenced document was electronically filed with the
   United States Bankruptcy Court for the Delaware District by using the CM/ECF system. I
   further certify that the parties of record in this case, all registered CM/ECF users located on
   the Court’s Electronic Mail Notice List, were served through the CM/ECF system.

                                                              /s/ Nadia Alazri
                                                              Nadia Alazri
Case 24-10070-BLS   Doc 198   Filed 04/03/24   Page 3 of 13




                    EXHIBIT A
           Case 24-10070-BLS Doc 198 Filed 04/03/24 Page 4 of 13
              TERRAFORM LABS PTE. LTD., Case No. 24–10070 (BLS)
                        Electronic Mail Master Service List
Creditor Name                   Email Address
DELAWARE DEPARTMENT OF
JUSTICE                         attorney.general@delaware.gov
                                charles.messing@irs.gov;
INTERNAL REVENUE SERVICE        dennis.moody@irs.gov
OFFICE OF THE UNITED STATES
TRUSTEE                         Linda.Richenderfer@usdoj.gov
SECRETARY OF STATE/DIV OF
REVENUE                         DOSDOC_FTAX@DELAWARE.GOV
SECURITIES & EXCHANGE
COMMISSION                      OCR@SEC.GOV
ACA ENGRG PTE LTD               pohyee.song@acaengrg.com
ARCHER MARKETING &
DEVELOPMENT (S) PTE             accounts@archer.com.sg
CHEANG & LEE SANITARY
PLUMBING PTE LTD                main@clspc.com.sg
CLOUDFLARE, INC.                mzatlyn@cloudflare.com
ESHARES, INC. DBA CARTA, INC.   investorservices@carta.com
K&L GATES LLP                   drew.hinkes@klgates.com
                                mmoehle@pagerduty.com;
PAGERDUTY, INC.                 igomez@pagerduty.com
                                starend@sec.gov;
                                cuellarc@sec.gov;
SECURITIES & EXCHANGE           carneyc@sec.gov;
COMMISSION                      landsmanr@sec.gov
SINGTEL                         andrew@teligraphtech.com
STANDARD CRYPTO VENTURE
FUND I LP                       ashley@standardcrypto.vc
SUBMC1                          aliceleaw@guocoland.com
TPC COMMERCIAL PTE LTD          vivienlim@guocoland.com
NANSEN PTE. LTD                 alex@nansen.ai
TOKEN TERMINAL OY               rasmus@tokenterminal.xyz
OMNICOM GROUP INC               Klawlor@ddcpublicaffairs.com
                                JFrett@gov.vg;
MINISTRY OF FINANCE             rahodge@gov.vg
                                sookhim.keoy@cliffordchance.com;
OKCOIN                          karen.choi@cliffordchance.com
WINTERMUTE TRADING              oliver.felton@mishcon.com
J.S HELD LLC                    jp.brennan@jsheld.com
                                paul@quinlanpartners.com;
QUINLAN PARTNERS, LLC           dbaker@quinlanpartners.com
                                wstansfield@reedsmith.com;
REED SMITH                      mbini@reedsmith.com
WONG PARTNERSHIP LLP            clayton.chong@wongpartnership.com
KOBRE & KIM LLP                 sydney.johnson@kobrekim.com
GOODWIN PROCTER LLP             gfondo@goodwinlaw.com
RAHMAN RAVELLI                  nicola.sharp@rahmanravelli.co.uk


                                  Page 1 of 2
          Case 24-10070-BLS Doc 198 Filed 04/03/24 Page 5 of 13
             TERRAFORM LABS PTE. LTD., Case No. 24–10070 (BLS)
                       Electronic Mail Master Service List
Creditor Name                 Email Address
MCQUIREWOODS LLP              esnyder@mcguirewoods.com
ALPHA CONSULTING DOO          office@alphaconsulting.me
                              JOHN.PINTARELLI@PILLSBURYLAW.COM;
                              ALANA.LYMAN@PILLSBURYLAW.COM;
PILLSBURY WINTHROP SHAW       PATRICK.FITZMAURICE@PILLSBURYLAW.COM;
PITTMAN LLP                   HUGH.MCDONALD@PILLSBURYLAW.COM
                              dhurst@mwe.com;
                              dpavan@mwe.com;
                              dazman@mwe.com;
                              jbevans@mwe.com;
MCDERMOTT WILL & EMERY LLP    gsteinman@mwe.com
                              cshore@whitecase.com;
                              cwest@whitecase.com;
                              gpesce@whitecase.com;
WHITE & CASE LLP              acolodny@whitecase.com




                                Page 2 of 2
Case 24-10070-BLS   Doc 198   Filed 04/03/24   Page 6 of 13




                    EXHIBIT B
  Case 24-10070-BLS Doc 198 Filed 04/03/24 Page 7 of 13
     TERRAFORM LABS PTE. LTD., Case No. 24–10070 (BLS)
            Electronic Mail CM-ECF User Service List
Creditor Name                  Email Address
Aaron Colodny                  acolodny@whitecase.com
Alana A. Lyman                 alana.lyman@pillsburylaw.com
                               steiger@rlf.com;
                               rbgroup@rlf.com;
Alexander R. Steiger           ann-jerominski-2390@ecf.pacerpro.com
                               dhurst@mwe.com;
                               dnorthrop@mwe.com;
                               fperlman@mwe.com;
                               bgiordano@mwe.com;
David R. Hurst                 mrainey@mwe.com
Epiq Corporate Restructuring   sgarabato@epiqglobal.com
                               gpesce@whitecase.com;
                               jdisanti@whitecase.com;
Gregory Pesce                  mco@whitecase.com
Hugh M. McDonald               hugh.mcdonald@pillsburylaw.com
Jane M. Leamy                  jane.m.leamy@usdoj.gov
                               cshore@whitecase.com;
                               caverch@whitecase.com;
                               gsedlik@whitecase.com;
                               rgorsich@whitecase.com;
John Christopher Shore         hannah.lee@whitecase.com
John Pintarelli                john.pintarelli@pillsburylaw.com
Linda Richenderfer             Linda.Richenderfer@usdoj.gov
Mark Califano                  mark.califano@dentons.com
                               milana@rlf.com;
                               rbgroup@rlf.com;
Matthew P. Milana              ann-jerominski-2390@ecf.pacerpro.com
                               dnorthrop@mwe.com;
                               fperlman@mwe.com;
                               bgiordano@mwe.com;
McDermott Will & Emery LLP     nrainey@mwe.com
Michael Kelly                  kellymich@sec.gov
Patrick E. Fitzmaurice         patrick.fitzmaurice@pillsburylaw.com
Reliable Companies             gmatthews@reliable-co.com
Samuel R. Maizel               samuel.maizel@dentons.com
                               tania.moyron@dentons.com;
Tania M. Moyron                kathryn.howard@dentons.com
Therese Anne Scheuer           scheuert@sec.gov
U.S. Trustee                   USTPRegion03.WL.ECF@USDOJ.GOV
William Matthew Uptegrove      uptegrovew@sec.gov
                               shapiro@rlf.com;
                               rbgroup@rlf.com;
Zachary I Shapiro              ann-jerominski-2390@ecf.pacerpro.com




                               Page 1 of 1
Case 24-10070-BLS   Doc 198   Filed 04/03/24   Page 8 of 13




                    EXHIBIT C
                                              Terraform Labs PTE Ltd.
                           Case 24-10070-BLS      Doc 198 Filed 04/03/24
                                                    Service List
                                                                                    Page 9 of 13

Claim Name                               Address Information
ACA ENGRG PTE LTD                        ATTN: POHYEE SONG 27 MANDAI ESTATE 07-07 INNOVATION PLACE, TOWER 2 SINGAPORE
                                         729931 SINGAPORE
ALPHA CONSULTING DOO                     ATTN: KSENIJA POPOVIC IVANISEVIC BULEVAR REVOLUCIJE 2/10A PODGORICA MONTENEGRO
ARCHER MARKETING & DEVELOPMENT (S) PTE   ATTN: VINCENT CHIUA 4 PENJURU PLACE 01-23 2.8 PENJURU TECH HUB SINGAPORE
                                         608782 SINGAPORE
CHEANG & LEE SANITARY PLUMBING PTE LTD   ATTN: ERIC CHEE 21 TOH GUAN ROAD EAST 06-13 TOH GUAN CENTRE SINGAPORE 608609
                                         SINGAPORE
CLOUDFLARE, INC.                         ATTN: MICHELLE ZATLYN 101 TOWNSEND STREET SAN FRANCISCO CA 94107
CORNERSTONE RESEARCH                     ATTN: YAN CAO 599 LEXINGTON AVENUE 40TH FLOOR NEW YORK NY 10022-7642
DELAWARE DEPARTMENT OF JUSTICE           OFFICE OF THE ATTORNEY GENERAL CARVEL STATE BUILDING 820 N. FRENCH STREET
                                         WILMINGTON DE 19801
DELAWARE STATE TREASURY                  820 SILVER LAKE BLVD., SUITE 100 DOVER DE 19904
ESHARES, INC. DBA CARTA, INC.            333 BUSH STREET SUITE 2300 SAN FRANCISCO CA 94104
ETHAN LEE                                ADDRESS ON FILE
GOODWIN PROCTER LLP                      ATTN: GRANT P. FONDO 601 MARSHALL STREET REDWOOD CITY CA 94063
INTERNAL REVENUE SERVICE                 P.O. BOX 7346 PHILADELPHIA PA 19101-7346
INTERNAL REVENUE SERVICE                 1111 CONSTITUTION AVE, NW WASHINGTON DC 20220-0001
J.S HELD LLC                             ATTN: JP BRENNAN 48 WALL STREET NEW YORK NY 10043
K&L GATES LLP                            ATTN: DREW HINKES 210 SIXTH AVENUE K&L GATES CENTER PITTSBURGH PA 15221
KOBRE & KIM LLP                          ATTN: SYDNEY JOHNSON 201 SOUTH BISCAYNE BLVD SUITE 1900 MIAMI FL 33131
MCDERMOTT WILL & EMERY LLP               CO-COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS DARREN AZMAN &
                                         JOSEPH B. EVANS ONE VANDERBILT AVENUE NEW YORK NY 10017
MCDERMOTT WILL & EMERY LLP               CO-COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS DAVID R. HURST &
                                         DANTE PAVAN THE BRANDYWINE BUILDING 1000 N. WEST STREET, SUITE 1400 WILMINGTON
                                         DE 19801
MCDERMOTT WILL & EMERY LLP               CO-COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS GREGG A. STEINMAN
                                         333 SE 2ND AVENUE, SUITE 4500 MIAMI FL 33131
MCQUIREWOODS LLP                         ATTN: ERIC SNYDER 1251 AVENUE OF THE AMERICAS, 20TH FLOOR NEW YORK NY
                                         10020-1104
MINISTRY OF FINANCE                      ATTN: JEREMIAH FRETT FINANCIAL SECRETARY GOVERNMENT OF THE VIRGIN ISLANDS ROAD
                                         TOWN, TORTOLA VG 1110 VIRGIN ISLANDS
NANSEN PTE. LTD                          ATTN: ALEXANDER SVANEVIK 111 SOMERSET RD, 03-09 SINGAPORE 238164 SINGAPORE
OFFICE OF THE UNITED STATES ATTORNEY     DISTRICT OF DELAWARE HERCULES BUILDING 1313 N. MARKET STREET, SUITE 400
                                         WILMINGTON DE 19801
OFFICE OF THE UNITED STATES TRUSTEE      DISTRICT OF DELAWARE ATTN: LINDA RICHENDERFER, ESQ. 844 KING ST, STE 2207,
                                         LOCKBOX 35 WILMINGTON DE 19801
OKCOIN                                   ATTN: CLIFFORD CHANCE 27TH FLOOR, JARDINE HOUSE ONE CONNAUGHT PLACE HONG KONG
                                         HONG KONG
OMNICOM GROUP INC                        ATTN: KEVIN LAWLOR 1615 L STREET NW SUITE 400 WASHINGTON DC 20036
PAGERDUTY, INC.                          600 TOWNSEND ST. #200 SAN FRANCISCO CA 94103
PILLSBURY WINTHROP SHAW PITTMAN LLP      COUNSEL TO P. PRETLOVE, D. STANDISH & J. DRURY JOINT LIQUIDATORS FOR THREE
                                         ARROWS FUND, LTD ATTN: J. PINTARELLI, A. LYMAN P.E. FITZMAURICE & H. MCDONALD
                                         31 WEST 52ND STREET NEW YORK NY 10019
QUINLAN PARTNERS, LLC                    ATTN: PAUL QUINLAN & DOROTHY BAKER 2805 2ND AVE. S. SUITE 200 BIRMINGHAM AL
                                         35233
RAHMAN RAVELLI                           ATTN: NICOLA SHARP & AZIZUR RAHMAN BRIDGE HOUSE 181 QUEEN VICTORIA STREET
                                         LONDON EC4V 4EG UNITED KINGDOM
REED SMITH                               ATTN: WAYNE STANSFIELD & MARK BINI THREE LOGAN SQUARE SUITE 3100, 1717 ARCH
                                         STREET PHILADELPHIA PA 19103
SECRETARY OF STATE/DIV OF REVENUE        DIVISION OF CORPORATIONS; FRANCHISE TAX JOHN G TOWNSEND BLDG 401 FEDERAL ST,
                                         STE 4 DOVER DE 19901
SECRETARY OF STATE/DIV OF REVENUE        DIVISION OF CORPORATIONS FRANCHISE TAX P.O. BOX 898 DOVER DE 19903



Epiq Corporate Restructuring, LLC                                                                            Page 1 OF 2
                                           Terraform Labs PTE Ltd.
                         Case 24-10070-BLS     DocService
                                                   198 Filed
                                                          List
                                                               04/03/24      Page 10 of 13

Claim Name                            Address Information
SECURITIES & EXCHANGE COMMISSION      NEW YORK REGIONAL OFFICE ATTN: ANDREW CALAMARI, REGIONAL DIRECTOR BROOKFIELD
                                      PLACE 200 VESEY ST, STE 400 NEW YORK NY 10281-1022
SECURITIES & EXCHANGE COMMISSION      ATTN: DEVON STAREN 100 F STREET, NE WASHINGTON DC 20549-5985
SINGTEL                               ATTN: DIRECTOR, ALFRED SAW C/O CREDIT MANAGEMENT (CREDIT RISK & ARREARS MGMT)
                                      20 PICKERING STREET #22-01 SINGTEL / PICKERING OPERATIONS COMPLEX SINGAPORE
                                      048658 SINGAPORE
STANDARD CRYPTO VENTURE FUND I LP     ATTN: ASHLEY SWEREN 1225 4TH STREET 525 SAN FRANCISCO CA 94158
SUBMC1                                1 WALLICH STREET 31-01 GUOCO TOWER SINGAPORE 078881 SINGAPORE
TOKEN TERMINAL OY                     PIENI ROOBERTINKATU 9 HELSINKI 00130 FINLAND
TPC COMMERCIAL PTE LTD                ATTN: CHENG HSING YAO 1 WALLICH STREET 31-01 GUOCO TOWER SINGAPORE 078881
                                      SINGAPORE
TQ VENTURES                           ATTN: ANDREW MARKS 408 WEST 14TH STREET 4TH FLOOR NEW YORK NY 10014
WHITE & CASE LLP                      CO-COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS J. CHRISTOPHER
                                      SHORE & COLIN T. WEST 1221 AVENUE OF THE AMERICAS NEW YORK NY 10020
WHITE & CASE LLP                      CO-COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS GREGORY F. PESCE
                                      111 SOUTH WACKER DRIVE, SUITE 5100 CHICAGO IL 60606
WHITE & CASE LLP                      CO-COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS AARON COLODNY 555
                                      SOUTH FLOWER STREET, SUITE 2700 LOS ANGELES CA 90071
WINTERMUTE TRADING                    ATTN: OLIVER FELTON MISHCON DE REYA LLP AFRICA HOUSE, 70 KINGSMAN LONDON WC2B
                                      6AH UNITED KINGDOM
WONG PARTNERSHIP LLP                  ATTN: CLAYTON CHONG 12 MARINA BOULEVARD LEVEL 28 MARINA BAY FINANCIAL CENTRE
                                      TOWER 3 SINGAPORE 18982 SINGAPORE




                               Total Creditor count 46




Epiq Corporate Restructuring, LLC                                                                      Page 2 OF 2
Case 24-10070-BLS   Doc 198   Filed 04/03/24   Page 11 of 13




                    EXHIBIT D
                                            TERRAFORM LABS PTE LTD.
                          Case 24-10070-BLS       Doc 198 Filed 04/03/24
                                                   SERVICE LIST
                                                                                Page 12 of 13

Claim Name                               Address Information
ACA ENGRG PTE LTD                        ATTN: POHYEE SONG 27 MANDAI ESTATE 07-07 INNOVATION PLACE, TOWER 2 SINGAPORE
                                         729931 SINGAPORE
ALPHA CONSULTING DOO                     ATTN: KSENIJA POPOVIC IVANISEVIC BULEVAR REVOLUCIJE 2/10A PODGORICA 1001
                                         MONTENEGRO
ARCHER MARKETING & DEVELOPMENT (S) PTE   ATTN: VINCENT CHIUA 4 PENJURU PLACE 01-23 2.8 PENJURU TECH HUB SINGAPORE
                                         608782 SINGAPORE
CHEANG & LEE SANITARY PLUMBING PTE LTD   ATTN: ERIC CHEE 21 TOH GUAN ROAD EAST 06-13 TOH GUAN CENTRE SINGAPORE 608609
                                         SINGAPORE
CLOUDFLARE, INC.                         ATTN: MICHELLE ZATLYN 101 TOWNSEND STREET SAN FRANCISCO CA 94107
CORNERSTONE RESEARCH                     ATTN: YAN CAO 599 LEXINGTON AVENUE 40TH FLOOR NEW YORK NY 10022-7642
DELAWARE DEPARTMENT OF JUSTICE           OFFICE OF THE ATTORNEY GENERAL CARVEL STATE BUILDING 820 N. FRENCH STREET
                                         WILMINGTON DE 19801
DELAWARE STATE TREASURY                  820 SILVER LAKE BLVD., SUITE 100 DOVER DE 19904
ESHARES, INC. DBA CARTA, INC.            333 BUSH STREET SUITE 2300 SAN FRANCISCO CA 94104
ETHAN LEE                                ADDRESS ON FILE
GOODWIN PROCTER LLP                      ATTN: GRANT P. FONDO 601 MARSHALL STREET REDWOOD CITY CA 94063
INTERNAL REVENUE SERVICE                 1111 CONSTITUTION AVE, NW WASHINGTON DC 20220-0001
INTERNAL REVENUE SERVICE                 P.O. BOX 7346 PHILADELPHIA PA 19101-7346
J.S HELD LLC                             ATTN: JP BRENNAN 48 WALL STREET NEW YORK NY 10043
K&L GATES LLP                            ATTN: DREW HINKES 210 SIXTH AVENUE K&L GATES CENTER PITTSBURGH PA 15221
KOBRE & KIM LLP                          ATTN: SYDNEY JOHNSON 201 SOUTH BISCAYNE BLVD SUITE 1900 MIAMI FL 33131
MCDERMOTT WILL & EMERY LLP               CO-COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS DARREN AZMAN &
                                         JOSEPH B. EVANS ONE VANDERBILT AVENUE NEW YORK NY 10017
MCDERMOTT WILL & EMERY LLP               CO-COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS DAVID R. HURST &
                                         DANTE PAVAN THE BRANDYWINE BUILDING 1000 N. WEST STREET, SUITE 1400 WILMINGTON
                                         DE 19801
MCDERMOTT WILL & EMERY LLP               CO-COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS GREGG A. STEINMAN
                                         333 SE 2ND AVENUE, SUITE 4500 MIAMI FL 33131
MCQUIREWOODS LLP                         ATTN: ERIC SNYDER 1251 AVENUE OF THE AMERICAS, 20TH FLOOR NEW YORK NY
                                         10020-1104
MINISTRY OF FINANCE                      ATTN: JEREMIAH FRETT FINANCIAL SECRETARY GOVERNMENT OF THE VIRGIN ISLANDS ROAD
                                         TOWN, TORTOLA VG 1110 VIRGIN ISLANDS
NANSEN PTE. LTD                          ATTN: ALEXANDER SVANEVIK 111 SOMERSET RD, 03-09 SINGAPORE 238164 SINGAPORE
OFFICE OF THE UNITED STATES ATTORNEY     DISTRICT OF DELAWARE HERCULES BUILDING 1313 N. MARKET STREET, SUITE 400
                                         WILMINGTON DE 19801
OFFICE OF THE UNITED STATES TRUSTEE      DISTRICT OF DELAWARE ATTN: LINDA RICHENDERFER, ESQ. 844 KING ST, STE 2207,
                                         LOCKBOX 35 WILMINGTON DE 19801
OKCOIN                                   ATTN: CLIFFORD CHANCE 27TH FLOOR, JARDINE HOUSE ONE CONNAUGHT PLACE HONG KONG
                                         1001 HONG KONG
OMNICOM GROUP INC                        ATTN: KEVIN LAWLOR 1615 L STREET NW SUITE 400 WASHINGTON DC 20036
PAGERDUTY, INC.                          600 TOWNSEND ST. #200 SAN FRANCISCO CA 94103
PILLSBURY WINTHROP SHAW PITTMAN LLP      COUNSEL TO P. PRETLOVE, D. STANDISH & J. DRURY JOINT LIQUIDATORS FOR THREE
                                         ARROWS FUND, LTD ATTN: J. PINTARELLI, A. LYMAN P.E. FITZMAURICE & H. MCDONALD
                                         31 WEST 52ND STREET NEW YORK NY 10019
QUINLAN PARTNERS, LLC                    ATTN: PAUL QUINLAN & DOROTHY BAKER 2805 2ND AVE. S. SUITE 200 BIRMINGHAM AL
                                         35233
RAHMAN RAVELLI                           ATTN: NICOLA SHARP & AZIZUR RAHMAN BRIDGE HOUSE 181 QUEEN VICTORIA STREET
                                         LONDON EC4V 4EG UNITED KINGDOM
REED SMITH                               ATTN: WAYNE STANSFIELD & MARK BINI THREE LOGAN SQUARE SUITE 3100, 1717 ARCH
                                         STREET PHILADELPHIA PA 19103
SECRETARY OF STATE/DIV OF REVENUE        DIVISION OF CORPORATIONS FRANCHISE TAX P.O. BOX 898 DOVER DE 19903
SECRETARY OF STATE/DIV OF REVENUE        DIVISION OF CORPORATIONS; FRANCHISE TAX JOHN G TOWNSEND BLDG 401 FEDERAL ST,



Epiq Corporate Restructuring, LLC                                                                             Page 1 of 2
                                         TERRAFORM LABS PTE LTD.
                         Case 24-10070-BLS     Doc 198 Filed 04/03/24
                                                SERVICE LIST
                                                                             Page 13 of 13

Claim Name                            Address Information
SECRETARY OF STATE/DIV OF REVENUE     STE 4 DOVER DE 19901
SECURITIES & EXCHANGE COMMISSION      ATTN: DEVON STAREN 100 F STREET, NE WASHINGTON DC 20549-5985
SECURITIES & EXCHANGE COMMISSION      NEW YORK REGIONAL OFFICE ATTN: ANDREW CALAMARI, REGIONAL DIRECTOR BROOKFIELD
                                      PLACE 200 VESEY ST, STE 400 NEW YORK NY 10281-1022
SINGTEL                               ATTN: DIRECTOR, ALFRED SAW C/O CREDIT MANAGEMENT (CREDIT RISK & ARREARS MGMT)
                                      20 PICKERING STREET #22-01 SINGTEL / PICKERING OPERATIONS COMPLEX SINGAPORE
                                      048658 SINGAPORE
STANDARD CRYPTO VENTURE FUND I LP     ATTN: ASHLEY SWEREN 1225 4TH STREET 525 SAN FRANCISCO CA 94158
SUBMC1                                1 WALLICH STREET 31-01 GUOCO TOWER SINGAPORE 078881 SINGAPORE
TOKEN TERMINAL OY                     PIENI ROOBERTINKATU 9 HELSINKI 00130 FINLAND
TPC COMMERCIAL PTE LTD                ATTN: CHENG HSING YAO 1 WALLICH STREET 31-01 GUOCO TOWER SINGAPORE 078881
                                      SINGAPORE
TQ VENTURES                           ATTN: ANDREW MARKS 408 WEST 14TH STREET 4TH FLOOR NEW YORK NY 10014
WHITE & CASE LLP                      CO-COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS AARON COLODNY 555
                                      SOUTH FLOWER STREET, SUITE 2700 LOS ANGELES CA 90071
WHITE & CASE LLP                      CO-COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS GREGORY F. PESCE
                                      111 SOUTH WACKER DRIVE, SUITE 5100 CHICAGO IL 60606
WHITE & CASE LLP                      CO-COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS J. CHRISTOPHER
                                      SHORE & COLIN T. WEST 1221 AVENUE OF THE AMERICAS NEW YORK NY 10020
WINTERMUTE TRADING                    ATTN: OLIVER FELTON MISHCON DE REYA LLP AFRICA HOUSE, 70 KINGSMAN LONDON WC2B
                                      6AH UNITED KINGDOM
WONG PARTNERSHIP LLP                  ATTN: CLAYTON CHONG 12 MARINA BOULEVARD LEVEL 28 MARINA BAY FINANCIAL CENTRE
                                      TOWER 3 SINGAPORE 18982 SINGAPORE




                               Total Creditor count: 46




Epiq Corporate Restructuring, LLC                                                                       Page 2 of 2
